Case 2:18-cv-00154-RAJ-RJK Document 24 Filed 08/30/18 Page 1 of 5 PageID# 192



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Norfolk Division



JAMES T. BUFORD, et al.

                              Plaintiffs,

                 V.                                             CIVIL ACTION NO. 2:18cvl54

OCWEN LOAN SERVICING,
LLC, et aL,

                              Defendants.



                                  MEMORANDUM ORDER

        This matter is before the Court on Ocwen Loan Servicing, LLC's ("Ocwen") Motion to

 Dismiss for failure to state a claim, ECF No. 4; Surety Trustees, LLC's ("Surety") Motion for

 Nominal Treatment, ECF No. 6; and James and Babetta Bufords' (collectively "Plaintiffs")
 Motion to Remand, ECF No. 8. These Motions were referred to United States Magistrate Judge

 Robert J. Krask ("Magistrate Judge") on June 8, 2018, for a report and recommendation. ECF
 No. 19. Having reviewed the Parties' filings in this case, the Court finds this matter is ripe for
 judicial determination. For the reasons set forth below, the Court does hereby ACCEPT and
 ADOPT the findings and recommendations set forth inthe report ofthe Magistrate Judge filed on
 July 13,2018.

                       I.   FACTUAL AND PROCEDURAL HISTORY

        The Magistrate Judge's Report and Recommendation ("Report") thoroughly details the
 factual and procedural history of the case. The Complaint states that Plaintiffs entered into a
 mortgage loan contract in September 1996, consisting ofa note and deed oftrust, for the purchase
                                                 1
Case 2:18-cv-00154-RAJ-RJK Document 24 Filed 08/30/18 Page 2 of 5 PageID# 193



of real property located in Chesapeake, Virginia. ECF No. 1-1. Ocwen is presumably the
current servicer on the loan. ECF No. 20. Plaintiffs fell behind on their payments in September

2017. ECF No. 1-1. As a result. Plaintiffs contacted Ocwen concerning a loan modification

package and sent Ocwen the completed loan modification package in January 2018. Id. Ocwen
failed to respond to the package and requested that Plaintiffs send a second package in February
2018. Id. After Plaintiffs sent Ocwen the second package, Plaintiffs received notices that

 Plaintiffs had a pending foreclosure sale on their property scheduled for February 27,2018. Id.
        Plaintiffs then filed a complaint and request for preliminary injunction against Ocwen and
 Surety (substitute trustee), on February 21, 2018, in circuit court. Id. On March 20, 2018,
 Surety filed a motion for nominal treatment in circuit court. ECF No. 6-1. On March 21,2018,
 Ocwen filed a notice of removal in this Court. ECF No. 1. On March 28, 2018, Ocwen filed a

 Motion to Dismiss for failure to state a claim. ECF No. 4. On March 30, 2018, Surety filed a

 Motion for Nominal Treatment in this Court. ECF No. 6. Plaintiffs, in turn, filed a Motion to

 Remand to state court onApril 4,2018. ECF No. 8. On April 18,2018, Ocwen filed a Response
 to Plaintiffs' Motion to Remand. ECF No. 15. On April 17, 2018, Plaintiffs filed a motion

 requesting that Ocwen's Motion to Dismiss be held in abeyance until the Court determines
 jurisdiction by ruling on Plaintiffs' Motion to Remand. ECF No. 10. Plaintiffs' Motion was
 subsequently granted on April 27, 2018. ECFNo. 18.

        As mentioned above, on June 8,2018,the Court entered an Order referring these actions to

 the Magistrate Judge to conduct hearings and submit proposed findings offact and, if applicable,
 recommendations for disposition of the aforementioned Motions. On July 13, 2018, Magistrate
 Judge Krask filed his Report in which he recommended that Surety's Motion for Nominal
 Treatment be GRANTED; that the claim against Surety be DISMISSED WITHOUT
                                                 2
Case 2:18-cv-00154-RAJ-RJK Document 24 Filed 08/30/18 Page 3 of 5 PageID# 194



PREJUDICE; and that Plaintiffs' Motion to Remand to state court be DENIED. ECF No. 20.
On July 27, 2018, Plaintiffs filed objections to the Magistrate Judge's Report. ECF No. 21. On
August 9, 2018, Surety filed a Response. ECF No. 22. On August 10, 2018, Ocwen filed a
Response. ECF No. 23. This matter is now ripe for disposition.

                                  II. STANDARD OF REVIEW

        Under Rule 72(b)(3) ofthe Federal Rules of Civil Procedure, a district judge is required to

"determine de novo any part ofthe magistrate judge's disposition that has been properly objected
 to." Fed. R. Civ. P. 72(b)(3). The ''de novo" requirement means that a district court judge must
 give "fresh consideration" to the objected-to portions of the Magistrate Judge's report and
 recommendation. See Wilmer v. Cooky 11A F.2d 68, 73 (4th Cir. 1985) ("[A]ny individual

 findings offact or recommendations for disposition by the [Magistrate Judge], if objected to, are
 subject to final de novo determination ... by a district judge ...."); United States v. Raddatz, 447
 U.S. 667, 675 (1980). "The district judge may accept, reject, or modify the recommended
 disposition; receive further evidence; or recommit the matter to the magistrate judge with
 instructions." Fed. R. Civ. P. 72(b)(3).

                                         III. DISCUSSION


        Plaintiffs raise three objections tothe Magistrate Judge's Report: 1) Plaintiffs object tothe
 Magistrate Judge's finding that Surety should be treated as a nominal party; 2) Plaintiffs object to
 the recommendation that the claims against Surety should bedismissed and ask for leave of Court

 to amend Plaintiffs' Complaint; and 3) Plaintiffs object to the Magistrate Judge's finding that
 Plaintiffs' Motion to Remand to the Circuit Court for the City of Chesapeake should be denied.

         A district court must review the relevant findings by the Magistrate Judge de novo when a

 party objects to the Magistrate Judge's report and recommendation. 28 U.S.C. § 636(b)(1)
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Case 2:18-cv-00154-RAJ-RJK Document 24 Filed 08/30/18 Page 4 of 5 PageID# 195



(2009). Objections made to the report must be made "with sufficient specificity so as reasonably
toalert the district court of the true ground ofthe objection." United States v. Midgette, 478 F.3d
616, 622 (4th Cir. 2007). Objections must also respond to specific errors in the report and
recommendation because general or conclusory objections are not proper. See Orpiano v.
Johnson, 687 F.2d 44,47 (4th Cir. 1982). General orconclusory objections are the equivalent of
 a waiver.   Id.


        "While Federal Rule 15(a) provides that leave to amend shall befreely given when justice
 so requires, a bare request in an opposition to a motion to dismiss—without any indication ofthe
 particular grounds on which amendment is sought—does not constitute a motion within the
 contemplation of Rule 15(a)." United States ex rel. Williams v. Martin-Baker Aircraft Co., 389
 F.3d 1251, 1259 (D.C. Cir. 2004) (quoting Confederate Mem'lAss'n v. Nines, 995 F.2d 295, 299
 (D.C. Cir. 1993); see Kowal v. MCICommc'ns Corp., 16 F.3d 1271, 1280 (D.C. Cir. 1994).
        The Court has reviewed all of Plaintiffs' aforementioned objections to the Magistrate

 Judge's Report. Based on a de novo review ofthe filings and the Report, this Court determines
 that the Magistrate Judge's recommendations and findings are proper. Wilmer, 774 F.2d at 73.
 The Report supports all factual findings and the Court finds Plaintiffs' objections are without
 merit. Plaintiffs' objections fail to provide the Court with objections that target particular errors
 found inthe Report. See Orpiano, 687 F.2d at47. The Court does not find any legal errors in the
 Magistrate Judge's findings because Plaintiffs' objections fail to provide the Court with sufficient
 legal authority to support the assertions presented in Plaintiffs' objections to the Report.
 Accordingly, the Court concludes that Plaintiffs raise no grounds which warrant this Court's
 departure from therecommendations as stated in the Magistrate Judge's Report.
Case 2:18-cv-00154-RAJ-RJK Document 24 Filed 08/30/18 Page 5 of 5 PageID# 196



        Also inPlaintiffs' objections to the Report, Plaintiffs request that the Court grant Plaintiffs
leave ofCourt to amend Plaintiffs' Complaint. Plaintiffs' request for leave ofCourt inPlaintiffs'
objection to the Report fails to provide the Court with sufficient and reasonable grounds for the
 Court to grant leave to amend Plaintiffs' Complaint. See Martin-Baker Aircraft Co., 389 F.3d at
 1259. Therefore, the Court denies Plaintiffs' request because the Court finds that Plaintiffs have

 not provided any basis or legal support to warrant the need for an amended complaint.
                                        IV. CONCLUSION


        The Court has independently reviewed the filings in this case and Plaintiffs' objections to
 the Report. Having done so, the Court finds that there is no meritorious reason to sustain
 Plaintiffs' objections. After careful review of the Magistrate Judge's Report, the Court does
 hereby ACCEPT and ADOPT the findings and recommendations set forth in the report of the
 United States Magistrate Judge filed onJuly 13,2018. Specifically, Surety's Motion for Nominal
 Treatment is GRANTED; the claim against Surety is DISMISSED WITHOUT PREJUDICE;

 and Plaintiffs' Motion to Remand is DENIED. Plaintiffs' additional request for leave of Court to

 amend Plaintiffs' complaint is DENIED.

        The Court DIRECTS the Clerk to send a copy of this Order to the parties.

        IT IS SO ORDERED.



 Norfolk, Virginia
 Augustj9 ,2018                                                 Raymond A.^^on
                                                                United States District Judge
